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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHEASTERN DIVISION

 ANTWOINE DEVON GRAY,                             )
                                                  )
        Petitioner,                               )
                                                  )
 v.                                               )    Case No. 5:21-cv-00210-RDP-HNJ
                                                  )
 WARDEN, et al.,                                  )
                                                  )
        Respondents.                              )

                                 MEMORANDUM OPINION
       The Magistrate Judge entered a Report and Recommendation on January 6, 2022, in which

he recommended that Petitioner Antwoine Devon Gray not be allowed to proceed with his petition

for a writ of habeas corpus pursuant to 28 U.S.C. § 2254 because it is untimely, meaning the

petition is barred by the applicable one-year statute of limitations. (Doc. 9). Although the

Magistrate Judge granted Petitioner’s motion for an extension of time to file objections to the

Report and Recommendation, (Doc. 13), no objections have been filed.

       After consideration of the record in this case, the court ADOPTS the Magistrate Judge’s

Report and ACCEPTS his Recommendation.                The court will not issue a certificate of

appealability.

       By separate order, the court will dismiss Petitioner’s petition because it his time-barred.

       DONE and ORDERED this March 7, 2022.



                                             _________________________________
                                             R. DAVID PROCTOR
                                             UNITED STATES DISTRICT JUDGE
